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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN G/L
DISTRICT OF TENNESSEE, WESTERN DIVISI(“)N-" § §
GEORGE PHILLIPS, )
Plaintiff, §
v. § Civil Action No. 03-2402-MIA
CDA INCORPORATED, §
Defendant. §

 

AGREED ORDER ON THE PLAINTIFF’S MOTION FOR ATTORNEY FEES

 

By agreement of parties, and for good cause Shown,
IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Plaintiff shall
be awarded attorney fees and cost in the Sum 0f $7,500.00 from the Defendant.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: 77/)‘?1;, /J:, 200(

 

APPROVED BY:

 
  
    

 

Q'Q‘L_._,

 

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Honorable S. Anderson
US DISTRICT COURT

